
248 P.3d 23 (2011)
240 Or. App. 562
STATE of Oregon, Plaintiff-Respondent,
v.
Petelo Peter VAANA, aka Patelo P. Vaana, aka Petelo P. Vaana, Defendant-Appellant.
090443656; A143267.
Court of Appeals of Oregon.
Submitted December 30, 2010.
Decided February 2, 2011.
Rankin Johnson IV filed the brief for appellant.
John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and Katherine H. Waldo, Senior Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and BREWER, Chief Judge, and ARMSTRONG, Judge.
PER CURIAM.
Reversed and remanded. State v. Terry, 240 Or.App. 330, ___ P.3d ___ (2011); see also State v. Wibbens, 238 Or.App. 737, 243 P.3d 790 (2010).
